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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS


                             RE: Local Rule 3.2 Notification of Affiliates



ANNUAL REMINDER: Pursuant to Local Rule 3.2 (“Notification of Affiliates”), any nongovernmental
party, other than an individual or sole proprietorship, must file a statement identifying all its affiliates.
For any party that has no affiliates, a statement confirming this must be filed. An affiliate is defined
as follows: any entity or individual owning 5% or more of a party. Any entity or individual who owns
5% or more of any such affiliate shall also be included within the definition of “affiliate.” The
statement is to be electronically filed as a PDF in conjunction with entering the affiliates in CM/ECF
as prompted. As a reminder to counsel, parties must supplement their statements of affiliates within
thirty (30) days of any change in the information previously reported. This minute order is being
issued to remind all counsel of record of their obligation to provide updated information as to
additional affiliates if any such updating is necessary. If counsel has any questions regarding this
process, this LINK will provide additional information.


                                                  ENTER:

                                            FOR THE COURT



                               Hon. Rebecca R. Pallmeyer, Chief Judge

   Dated at Chicago, Illinois this 28th day of December 2023
